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                      11                      UNITED STATES DISTRICT COURT
                      12                    CENTRAL DISTRICT OF CALIFORNIA
                      13   EDMOND CARMONA, ABRAHAM                CASE NO.
                      14   MENDOZA, ROGER NOGUERIA on             DEFENDANT DOMINO’S PIZZA
                           behalf of themselves and all others    LLC’S NOTICE OF REMOVAL
                      15   similarly situated,                    AND REMOVAL OF ACTION
                      16                        Plaintiffs,       [28 U.S.C. §§ 1332, 1441, 1446]
                      17        v.                                [Removed from County of Orange
                                                                  Superior Court No.:
                      18   DOMINO’S PIZZA, LLC, a Michigan        30-2020-01145146-CU-OE-CXC]
                      19   Corporation, and Does 1-10
                      20                        Defendant.
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                     1   TO THE CLERK OF THE COURT, PLAINTIFFS AND PLAINTIFFS’
                     2   ATTORNEYS OF RECORD:
                     3           PLEASE TAKE NOTICE that Defendant Domino’s Pizza LLC (“Domino’s”
                     4   or “Defendant”) hereby removes this action to the United States District Court for the
                     5   Central District of California pursuant to 28 U.S.C. Sections 1332, 1441, and 1446.
                     6   This action was originally filed in the Superior Court of the State of California for the
                     7   County of Orange and assigned Case No. 30-2020-01145146-CU-OE-CXC. The
                     8   grounds for this removal are set forth herein:
                     9   I.      STATEMENT OF JURISDICTION
                    10           1.       This Court has original jurisdiction over this action pursuant to 28 U.S.C.
                    11   sections 1332(a)(1) and 1332(d).
                    12           2.       This Court has original jurisdiction under 28 U.S.C. section 1332(a)(1),
                    13   and this case may be removed pursuant to the provisions of 28 U.S.C. section 1441(a),
                    14   in that it is a civil action wherein the amount in controversy for one of the named
                    15   plaintiffs exceeds the sum of seventy five thousand dollars ($75,000.00), exclusive of
                    16   interest and costs, and it is between citizens of different States. As set forth below,
                    17   this case meets all of section 1332’s requirements for removal and is timely and
                    18   properly removed by the filing of this Notice.
                    19           3.       In Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 87
                    20   (2014), the United States Supreme Court held that courts must apply the same liberal
                    21   rules to removal allegations as to other matters of pleading.
                    22   II.     VENUE
                    23           4.       The Complaint was filed in the Superior Court of California for the
                    24   County of Orange. Thus, venue properly lies in the United States District Court for
                    25   the Central District of California, pursuant to 28 U.S.C. section 1391(b).
                    26   III.    PLEADINGS AND PROCEEDINGS TO DATE
                    27           5.       As required by 28 U.S.C. section 1446(a), true and correct copies of all
                    28   process, pleadings and orders served upon Defendant to date in this Lawsuit are

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                     1   attached to the Declaration of Taylor Wemmer (“Wemmer Decl.”) as Exhibits A-F.
                     2   These are the: (A) Complaint; (B) Summons and Civil Case Cover Sheet; (C) Notice
                     3   and Acknowledgment of Receipt and Plaintiffs’ Proof of Service of same; (D) First
                     4   Amended Complaint; (E) Court’s Minute Order dated August 10, 2020 and, together
                     5   (F) Plaintiffs’ Status Conference Statement filed on September 1, 2020, Defendant’s
                     6   Notice of Appearance and Status Conference Statement filed on September 2, 2020.
                     7           6.       On June 26, 2020, Plaintiffs Edmond Carmona, Abraham Mendoza, and
                     8   Roger Nogueira (collectively, “Plaintiffs”) filed an unverified Complaint in Orange
                     9   County Superior Court against Domino’s entitled Edmond Carmona, Abraham
                    10   Mendoza, and Roger Nogueira, on behalf of themselves and all others similarly
                    11   situated, Plaintiffs vs. Domino’s Pizza, LLC, a Michigan Corporation, and Does 1-
                    12   10, Defendants, Case No. 30-2020-01145146-CU-OE-CXC. Plaintiffs alleged two
                    13   putative class claims: (1) failure to reimburse for necessary work expenditures under
                    14   California Labor Code section 2802, and (2) unfair competition under California
                    15   Business and Professions Code section 17200. Wemmer Decl., Exhibit A.
                    16           7.       Domino’s counsel agreed to accept service of the original complaint and
                    17   summons via Notice and Acknowledgement of Receipt form per California Code of
                    18   Civil Procedure section 415.30, which was signed on July 20, 2020. Wemmer Decl.
                    19   Exhibits B and C.
                    20           8.       On September 1, 2020, Plaintiffs filed a First Amended Complaint
                    21   (“FAC”) which added five new causes of actions brought individually on behalf of
                    22   each of the three named plaintiffs: (1) failure to provide meal breaks, (2) failure to
                    23   provide rest breaks, (3) failure to separately pay all wages for work performed, (4)
                    24   failure to issue accurate itemized wage statements, and (5) waiting time penalties.
                    25   Wemmer Decl. Exhibit D. Plaintiffs served their FAC electronically on Defense
                    26   counsel via One Legal.
                    27           9.       The case was assigned to Judge Peter Wilson of the Orange County
                    28   Superior Court, who scheduled a status conference in the matter for September 4,

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                     1   2020 at 9 a.m. and required that Plaintiff submit a Status Conference Statement at
                     2   least five days prior to the conference. Wemmer Decl. Exhibit E. Other parties could
                     3   submit similar statements if they chose to do so. Wemmer Decl. Exhibit F.
                     4           10.      Defendant’s counsel attended the September 4, 2020 status conference
                     5   hearing before Judge Wilson and represented that it was considering removing this
                     6   action to federal court.
                     7           11.      To Domino’s knowledge, no further process, pleadings, or orders related
                     8   to this case have been filed in the Orange County Superior Court or served by any
                     9   party other than as described above.
                    10   IV.     REMOVAL IS TIMELY
                    11           12.      Plaintiff’s original complaint did not satisfy federal removal
                    12   requirements; however, Plaintiff’s FAC added five new individual claims on behalf
                    13   of each Plaintiff. “[I]f the case stated by the initial pleading is not removable, a notice
                    14   of removal may be filed within 30 days after receipt by the defendant, through service
                    15   or otherwise, of a copy of an amended pleading, motion, order or other paper from
                    16   which it may first be ascertained that the case is one which is or has become
                    17   removable.” 28 U.S.C. § 1446(b)(3).
                    18           13.      Removal of the FAC is timely as Domino’s files this removal within
                    19   thirty (30) days of service of the FAC on Domino’s, which occurred on September 1,
                    20   2020. The thirty-day period for removal runs through October 1, 2020.
                    21   V.      DEFENDANT IS A NOT A STATE, STATE OFFICIAL OR OTHER
                    22           GOVERNMENTAL ENTITY
                    23           14.      No states, state officials or other governmental entities are named as
                    24   defendants in this action.
                    25   VI.     DIVERSITY JURISDICTION
                    26           15.      The diversity of citizenship statute provides in pertinent part that “[t]he
                    27   district courts shall have original jurisdiction of all civil actions where the matter in
                    28   /////

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                     1   controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and
                     2   is between - (1) citizens of different States . . . .” See 28 U.S.C. § 1332(a).
                     3           16.      As set forth in below, both requirements are satisfied here. First, complete
                     4   diversity of citizenship exists between Domino’s and Plaintiffs Edmond Carmona
                     5   (“Carmona”), Abraham Mendoza (“Mendoza”) and Roger Nogueira (“Nogueira”).
                     6   Second, the amount in controversy is satisfied because: (i) the amount in controversy
                     7   with respect to Carmona’s claims exceeds $75,000, exclusive of interest and costs; and
                     8   (ii) the amount in controversy requirement need only be satisfied as to one of the named
                     9   Plaintiffs to confer diversity jurisdiction on this Court. See Exxon Mobil Corp. v.
                    10   Allapattah Servs., Inc. 545 U.S. 546, 566 (2005) (holding that the “threshold
                    11   requirement of §1367(a) is satisfied in cases . . . where some, but not all, of the plaintiffs
                    12   in a diversity action allege a sufficient amount in controversy”) (superseded by statute
                    13   on other grounds); Kanter v. Warner-Lambert Co., 265 F.3d 853, 858 (9th Cir. 2001)
                    14   (“[W]e hold that if a named plaintiff in a diversity class action has a claim with an
                    15   amount in controversy in excess of $75,000, 28 U.S.C. § 1367 confers supplemental
                    16   jurisdiction over claims of unnamed class members irrespective of the amount in
                    17   controversy in those claims....”); Flores v. Marriott Resorts Hospitality Corp., No. CV
                    18   18-8012 JVS (JPRx), 2019 U.S. Dist. LEXIS 6604, at *12-13 (C.D. Cal. Jan. 7, 2019)
                    19   (court exercised supplemental jurisdiction over plaintiff Torres’ claims pursuant to 28
                    20   U.S.C. § 1367 because plaintiff Flores’ claims satisfied the amount in controversy
                    21   requirement, the other elements of diversity jurisdiction were satisfied, and plaintiffs
                    22   Torres’ and Flores’ claims were part of the same case or controversy); Barajas v.
                    23   Carriage Cemetery Servs. of Cal., Inc., No. 19-CV-02035-EMC, 2019 WL 2499711,
                    24   at *6 (N.D. Cal. June 17, 2019) (“[S]o long as there is subject matter jurisdiction over
                    25   Ms. Barajas’s claims, then the Court has supplemental jurisdiction over the other
                    26   plaintiffs’ claims”).
                    27           17.      Stated otherwise, where diversity jurisdiction exists as to any claim,
                    28   federal courts may exercise supplemental jurisdiction “over all other claims that are so

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                     1   related to claims in the action within such original jurisdiction that they form part of
                     2   the same case or controversy under Article III of the United States Constitution.” 28
                     3   U.S.C. § 1367(a). In a multi-plaintiff action, if there is complete diversity and one
                     4   plaintiff’s claim satisfies the $75,000 threshold, the district court may exercise
                     5   supplemental jurisdiction over claims by other plaintiffs in lesser amounts, provided
                     6   that all claims arise out of the same Article III case or controversy. Thus, because
                     7   Plaintiff Carmona’s claims satisfy the $75,000 threshold, this Court may exercise
                     8   supplemental jurisdiction over Plaintiffs Mendoza’s and Nogueira’s claims, in addition
                     9   to those of the proposed class claims, because they arise out of the same case and
                    10   controversy. See Exxon Mobil Corp., 545 U.S. at 549.
                    11           A.       Complete Diversity of Citizenship Exists Between Plaintiffs and
                    12                    Domino’s
                    13           18.      There is diversity of citizenship between the Plaintiffs and Domino’s, as
                    14   Plaintiffs and Domino’s are citizens of different states.
                    15           19.      Plaintiffs Carmona, Mendoza and Nogueira were, at the time of filing this
                    16   action, and still are on information and belief, citizens of the State of California. (See
                    17   FAC ¶¶ 1, 2, and 19; Declaration of Vincent Ruelas (“Ruelas Decl.”), ¶ 3.) Citizenship
                    18   of a natural person is established by domicile. 28 U.S.C. § 1332(a)(1) (an individual is
                    19   a citizen of the state in which he or she is domiciled). A person’s domicile is
                    20   established by physical presence and an intent to remain indefinitely. Lew v. Moss, 797
                    21   F.2d 747, 749-50 (9th Cir. 1986); State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514,
                    22   520 (10th Cir. 1994) (residence is prima facie evidence of domicile for purposes of
                    23   determining citizenship).
                    24           20.      Here, Plaintiffs’ Complaint establishes that Plaintiffs have had, and
                    25   continue to have, a physical presence in the state of California, with an intent to remain
                    26   indefinitely. (See FAC ¶¶ 1, 2, and 19 [“Plaintiff’s . . . previously worked for or
                    27   continue to work for Domino’s in the State of California as delivery drivers”;
                    28   “Plaintiffs all worked for Domino’s Pizza, LLC as truck drivers within Domino’s

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                     1   California facilities”; “throughout the time they worked for Domino’s pizza, they spent
                     2   most of their time driving routes in California and drove routes through and in Orange
                     3   County and the Los Angeles area.”). There is no indication that Plaintiffs Carmona,
                     4   Mendoza and Nogueira are citizens of a state other than California. See FAC. In fact,
                     5   just a few months ago, each Plaintiff signed a declaration in a related case currently
                     6   pending in the Central District of California, Silva v. Domino’s Pizza, Case No. 8:18-
                     7   cv-02145, in which they stated that they had signed their declarations in Moreno
                     8   Valley, California (Carmona, signed on June 5, 2020), Murrieta, California
                     9   (Mendoza, signed on June 8, 2020), and Moreno Valley, California (Nogueira, signed
                    10   on June 5, 2020). See Request for Judicial Notice in support of Defendant’s Notice
                    11   of Removal, Exs. 1-3.
                    12           21.      Domino’s is not a citizen of the State of California. For removal
                    13   purposes, the citizenship of a Limited Liability Company is based on the citizenship
                    14   of all of its members. See Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894,
                    15   899 (9th Cir. 2006). For purposes of diversity, a corporation is deemed to be a citizen
                    16   of the state in which it has been incorporated and where it has its principal place of
                    17   business. 28 U.S.C. § 1332(c)(1).
                    18           22.      Domino’s Pizza LLC is a Michigan limited liability company having
                    19   its principal place of business in Ann Arbor, Michigan. See Declaration of Stacey
                    20   Rodriguez In Support of Notice of Removal (“Rodriguez Decl.”), ¶ 3. Domino’s, Inc.
                    21   is the sole member of Domino’s Pizza LLC. Id.
                    22           23.      Domino’s, Inc. is a Delaware corporation organized and existing under
                    23   the laws of the State of Delaware with its principal place of business and corporate
                    24   headquarters in Ann Arbor, Michigan. Id. at ¶ 4.
                    25           24.      Any potential “Doe” defendants are disregarded for purposes of
                    26   removal. 28 U.S.C. § 1441(a); see also Newcombe v. Adolf Coors Co., 157 F.3d 686,
                    27   690–91 (9th Cir. 1998). In addition, there are no allegations in the Complaint with
                    28   respect to the potential “Doe”“ defendants. See FAC ¶ 14.

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                     1           25.      Thus, the parties are of diverse citizenship, as Plaintiffs are citizens of
                     2   California and Domino’s is a citizen of Michigan and Delaware. Accordingly, the
                     3   complete diversity requirement of 28 U.S.C. § 1332(a) is satisfied.
                     4           B.       The Amount in Controversy Exceeds $75,000.
                     5           26.      As stated above, in a multi-plaintiff action, if there is complete diversity
                     6   and one plaintiff’s claim satisfies the $75,000 threshold, the district court may exercise
                     7   supplemental jurisdiction over claims by other plaintiffs in lesser amounts provided that
                     8   all claims arise out of the same Article III case or controversy. See 28 U.S.C. § 1367(a);
                     9   Exxon Mobil, 545 U.S. at 549. Here, Plaintiff Carmona’s claims alone satisfy the
                    10   $75,000 threshold. Thus, this Court may exercise supplemental jurisdiction over
                    11   Plaintiffs Mendoza’s and Nogueira’s claims.
                    12           27.      Plaintiffs’ FAC is silent as to the total amount of damages; however, a
                    13   reasonable reading of Plaintiffs’ FAC is sufficient to indicate that the sought-after
                    14   relief exceeds the $75,000 threshold required under 28 U.S.C. section 1332(a).
                    15           28.      Domino’s denies the validity and merits of the entirety of Plaintiffs’
                    16   alleged claims, the legal theories upon which they are ostensibly based, and the alleged
                    17   claims for monetary and other relief that flow therefrom. However, for purposes of
                    18   removal only, and without conceding that Plaintiffs are entitled to any damages or
                    19   penalties whatsoever, it is readily apparent that Plaintiff Carmona’s claims establish an
                    20   amount in controversy well in excess of the jurisdictional minimum of $75,000.
                    21           29.      For purposes of determining whether the minimum amount in controversy
                    22   has been satisfied, the Court must look to the allegations of Plaintiffs’ Complaint and
                    23   presume that Plaintiff Carmona will prevail on his claims. Kenneth Rothschild Trust v.
                    24   Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002) (citing Burns
                    25   v. Windsor Ins. Co., 31 F.3d 1092, 1096 (11th Cir. 1994) (stating that the “amount in
                    26   controversy analysis presumes that ‘plaintiff prevails on liability’”)). Put differently,
                    27   “[t]he amount in controversy is simply an estimate of the total amount in dispute, not a
                    28   prospective assessment of [Defendant’s] liability.” Lewis v. Verizon Commc’ns., Inc.,

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                     1   627 F.3d 395, 400 (9th Cir. 2010); see also Rippee v. Boston Mkt. Corp., 408 F. Supp.
                     2   2d 982, 986 (S.D. Cal. 2005).
                     3           30.      “[W]hen a defendant seeks federal-court adjudication, the defendant’s
                     4   amount-in-controversy allegation should be accepted when not contested by the
                     5   plaintiff or questioned by the court.” Dart, 574 U.S. at 87. If the plaintiff or the court
                     6   questions a defendant’s amount in controversy allegation, removal is proper where
                     7   the “district court finds, by the preponderance of the evidence, that the amount in
                     8   controversy exceeds” the jurisdictional threshold. 28 U.S.C. § 1446(c)(2)(B); see also
                     9   Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 376 (9th Cir. 1997).
                    10           31.      “Under [the preponderance of the evidence] burden, the defendant must
                    11   provide evidence establishing that it is ‘more likely than not’ that the amount in
                    12   controversy exceeds that amount.” Sanchez v. Monumental Life Ins. Co., 102 F.3d
                    13   398, 404 (9th Cir. 1996). This “burden is not daunting, as courts recognize that under
                    14   this standard, a removing defendant is not obligated to research, state, and prove the
                    15   plaintiffs’ claims for damages.” Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d
                    16   1199, 1204–05 (E.D. Cal. 2008) (internal quotations omitted) (emphasis in original)
                    17   (“Korn”); see also Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004)
                    18   (“[T]he parties need not predict the trier of fact’s eventual award with one hundred
                    19   percent accuracy.”).
                    20           32.      Economic damages, non-economic damages, general damages,
                    21   attorneys’ fees, punitive damages, and injunctive relief are all included in determining
                    22   the amount in controversy. See Anthony v. Sec. Pac. Fin. Servs., Inc., 75 F.3d 311, 315
                    23   (7th Cir. 1996) (prayer for actual and punitive damages included in determining
                    24   amount in controversy); Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th
                    25   Cir. 1998) (prayer for attorneys’ fees included in determining the amount in
                    26   controversy where potentially recoverable by statute). Moreover, all claims alleged by
                    27   Plaintiff Carmona can be aggregated to meet the minimum jurisdictional amount.
                    28   /////

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                     1   See Bank of Cal. Nat’l Ass’n v. Twin Harbors Lumber Co., 465 F.2d 489, 491 (9th Cir.
                     2   1972).
                     3           33.      Plaintiffs’ FAC alleges that for at least four years prior to the filing of
                     4   the FAC, Domino’s failed to separately pay for all “non-driving time” worked, such
                     5   as work performed before and after driving shifts or for “waiting time” during driving
                     6   routes (FAC at ¶¶ 11, 42-46); failed to provide meal breaks (id. at ¶¶ 12, 49-52); failed
                     7   to provide rest breaks (id. at ¶¶ 12, 55-56); failed to indemnify for necessary
                     8   expenditures (id. at ¶¶ 29-32); failed to provide accurate, itemized wage statements
                     9   (id. at ¶¶ 59-61); failed to provide all compensation due at termination (id. at ¶¶ 65-
                    10   67); and engaged in false, unfair, fraudulent and deceptive business (id. at ¶¶ 35-39).
                    11   Based on these contentions, the amount in controversy with respect to Plaintiff
                    12   Carmona exceeds the $75,000 requirement.
                    13           34.      Plaintiff Carmona was employed as a Delivery & Service driver for
                    14   Domino’s Southern California between from May 23, 2017 to November 29, 2018
                    15   (approximately 79 weeks). See Ruelas Decl. ¶ 4. See also Request for Judicial Notice
                    16   in Support of Defendant’s Notice of Removal, Exhibit 1 (Declaration of Edmond
                    17   Carmona) (“Carmona Decl.”) ¶ 2 (“I am a former driver for Defendant Domino’s Pizza
                    18   (“Domino’s”). I worked from May 2017 to November 2018”). During his employment
                    19   with Domino’s, Carmona worked approximately four shifts per week. Ruelas Decl.
                    20   ¶ 4. Having worked for Domino’s for 79 weeks, he worked approximately 316 shifts
                    21   during this period. Carmona’s average hourly rate at the time of his termination was
                    22   approximately $38.79/hour. Ruelas Decl. ¶ 5.
                    23           Domino’s Alleged Failure to Separately Pay All Wages for Work Performed
                    24           35.      In the FAC, Plaintiff alleges that “Domino’s does not pay its drivers for
                    25   the actual time it takes to complete their pre- and post-shift work, or the total
                    26   downtime for its drivers. In fact, it cannot because Domino’s does not even track the
                    27   amount of non-driving hours its drivers work during their shifts . . . Within the pre-
                    28   shift duties, drivers are also required to conduct a DOT 15-minute pre-shift safety

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                     1   inspection. Domino’s does not actually calculate any of this time.” (FAC ¶ 42).
                     2   Plaintiffs also alleges “Domino’s also does not pay Plaintiff and other truck drivers
                     3   for all the miles they drive” and that “Domino’s often mandates that its drivers pick-
                     4   up empty trays from customer sites, but provides inadequate or no compensation for
                     5   this task.” (FAC ¶ 44).
                     6           36.      Although Plaintiff does not allege how often or how many times per
                     7   week Domino’s failed to separately pay for non-driving work, Plaintiff Carmona
                     8   states as follows in the Declaration he submitted in the above-referenced Silva case,
                     9   which he signed under penalty of perjury:
                    10                 a. “Domino’s paid me a set 30-minutes for “downtime” like waiting at a
                    11                    customer’s location. This was also not enough money because my
                    12                    downtime in a day was usually more than 30 minutes because of things
                    13                    like traffic delay or delivery delays.” (Carmona Decl. ¶ 4).
                    14                 b. “I did not record any additional downtime or pre- and post-shift time I
                    15                    worked because I was not going to be paid for it anyway since I was just
                    16                    getting [sic] flat rate. No one instructed me to record this extra time.” (Id.
                    17                    at ¶ 5).
                    18                 c. A manager “explained to me that my scheduled shift time was the time
                    19                    after a driver completed all of his paperwork, obtained keys, fully
                    20                    inspected the truck and the load, and was otherwise ready to leave the
                    21                    yard – i.e., after all the pre-shift duties were completed.” (Id. at ¶ 6).
                    22                 d. “So, for example, if my shift was for 8 p.m., I would arrive around 7:15
                    23                    p.m. to complete all my pre-shift work so that I was on the road by 8 pm,
                    24                    the start of my shift. None of this time was recorded on my logs or trip
                    25                    sheets.” (Id. at ¶ 7).
                    26           37.      For this cause of action, Plaintiff Carmona seeks recovery of “all
                    27   uncompensated wages for non-driving work and unpaid rest breaks, plus interest, and
                    28   /////

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                     1   attorneys’ fees and costs, as well as all other legal and equitable relief such as a court
                     2   may find just and proper.”
                     3           38.      Based on Plaintiff’s own declaration, he worked at least 45 minutes a
                     4   day completing his pre-shift work every day prior to the start of his shift that he did
                     5   not record on his trip sheets. Id. at ¶ 7. He also states that he had more than 30 minutes
                     6   every day of “downtime” due to traffic delays or delivery delays, but he allegedly
                     7   only received 30 minutes of pay for this time. Id. at ¶ 4. Plaintiff also alleges in his
                     8   FAC and his Declaration that there was post-shift time for which he was not paid. Id.
                     9   at ¶ 5; see also FAC ¶ 42. Lastly, Plaintiff alleges that he was not paid for all of his
                    10   mileage driven each shift. FAC ¶ 44.
                    11           39.      Therefore, Domino’s conservatively estimates that Carmona seeks
                    12   recovery for approximately 1 hour of off-the-clock work per day based on the
                    13   information contained in his Declaration and FAC (45 minutes for pre-shift duties and
                    14   a total of 15 minutes for all other alleged unpaid time due to post-shift duties and
                    15   “downtime”).        These allegations place a total of $12,257.64 in controversy (1
                    16   hour/day x 316 shifts x pay rate of $38.79/hour = $12,257.64).
                    17           Domino’s Alleged Failure to Provide Meal or Rest Periods
                    18           40.      With respect to meal periods, Plaintiff alleges that: “Plaintiffs regularly
                    19   worked in excess of five-hour shifts without being afforded at least a half-hour
                    20   uninterrupted meal break in which they were relieved of all duty”; “Throughout the
                    21   liability period . . . Defendant failed to inform or advise its drivers of their right to
                    22   take meal breaks under California law. In fact, Defendant did not schedule meal
                    23   breaks and did not inform drivers how to take them”; “As a result of Defendant’s
                    24   failure to advise and inform its employees of their right to take meal breaks, Defendant
                    25   is liable to the Plaintiffs for one hour of additional pay at the regular rate of
                    26   compensation for each workday that Defendant did not advise its drivers of their right
                    27   to take meal breaks, pursuant to California Labor Code § 226.7.” FAC ¶¶ 49, 51, and
                    28   52.

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                     1           41.      Plaintiffs also allege that they “regularly worked more than three and
                     2   one-half hours in a day without being authorized and permitted to take a 10-minute
                     3   duty-free rest period, and regularly worked more than six hours in a day without being
                     4   authorized and permitted to take two, 10-minute duty free rest periods per four hours
                     5   or major fraction thereof, as required under California Labor Code § 226.7. Domino’s
                     6   piece-rate compensation scheme, along with delivery scheduled and timing
                     7   require[ments] caused drivers to routine[ly] miss rest breaks.” FAC ¶ 55.
                     8           42.      Under California Labor Code section 512 and IWC Wage Order
                     9   (“Wage Order”) No. 9-2001(11), an employee who works more than five (5) hours
                    10   per day must be provided a meal period of at least thirty (30) minutes. California
                    11   Labor Code section 512 and Wage Order No. 9-2001(11) also provide that employees
                    12   who work more than ten (10) hours per day must be provided a second meal period
                    13   of not less than thirty (30) minutes. Pursuant to Wage Order No. 9-2001(12) and
                    14   California Code of Regulations, Title 8, section 11090, an employer must provide a
                    15   ten (10) minute rest period per four (4) hours of work or major fraction thereof. Under
                    16   California Labor Code section 226.7, if an employer fails to provide an employee a
                    17   meal or rest period, the employer shall pay the employee one (1) additional hour of
                    18   pay at the employee’s regular rate of compensation for each workday that the meal or
                    19   rest period is not provided. If an employer fails to provide both the rest period and the
                    20   meal period, the employee is entitled to recover two (2) hours of pay at the employee’s
                    21   regular rate of compensation. United Parcel Serv. v. Super. Ct., 196 Cal. App. 4th
                    22   57, 69 (2011).
                    23           43.      Based on Plaintiff’s allegations (1) that “[t]hroughout the liability period”
                    24   Domino’s failed to “advise its drivers of their right to take meal breaks”, (2) that
                    25   “Defendant is liable to the Plaintiffs for one hour of additional pay at the regular rate
                    26   of compensation for each workday that Defendant did not advise its drivers of their
                    27   right to take meal breaks” (FAC ¶¶ 51-52), and (3) that drivers “routine[ly]” missed
                    28   rest periods due to scheduling requirements (FAC ¶ 55), Plaintiff Carmona has

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                     1   alleged that no meal or rest periods were complaint and that he has a meal period
                     2   violation and a rest period violation for every shift he worked. Therefore, these
                     3   allegations place a total of $24,515.28 in controversy (2 hours at the employee’s
                     4   normal hourly rate/day for premium payments, one for missed meal periods and one
                     5   for missed rest periods) x [316] shifts x pay rate of $38.79/hour).
                     6           Domino’s Alleged Failure to Indemnify for All Necessary Expenditures
                     7           44.      Plaintiffs claim that “Domino’s knowingly and intentionally required its
                     8   drivers to purchase and use their own person cell phones to regularly communicate
                     9   with Domino’s during their routes” and “Defendants required Plaintiffs . . . to pay the
                    10   certain expenses including but not limited to fees for the use of their cell phone
                    11   required for their work in accordance with Domino’s requirements.” FAC ¶¶ 30-31.
                    12   California Labor Code section 2802 requires employers to reimburse employees for
                    13   all “necessary expenditures or losses incurred by the employee in direct consequence
                    14   of the discharge of his or her duties.”
                    15           45.      Plaintiff does not estimate how much he believes his is owed for the
                    16   purchase and the use of his cell phone for business purposes during the approximately
                    17   19 months he was employed with Domino’s. Assuming the average cost of a cell
                    18   phone is $3631 and the average monthly phone plan for a cell phone is $963/year in
                    19   2014 (and presumably has only increased since then),2 these allegations place
                    20   approximately $1,887.75 in controversy (($963 / 12 months x 19 months) + $363).
                    21           Domino’s Alleged Failure to Maintain and Provide Accurate Wage
                    22           Statements
                    23           46.      Plaintiffs allege that Domino’s failed to maintain and provide accurate
                    24   wage statements in violation of California Labor Code Section 226 and that
                    25   “Domino’s knowingly and intentionally failed to furnish, and continues to knowingly
                    26
                         1
                           https://www.vox.com/2018/1/23/16923832/global-smartphone-prices-grew-faster-
                    27     iphone-quarter
                         2
                    28     https://www.bls.gov/opub/btn/volume-5/expenditures-on-celluar-phone-services-
                           have-increased-significantly-since-2007.htm
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                     1   and intentionally fail to furnish, Plaintiffs with timely, itemized statements that
                     2   accurately reflect the total number of hours worked, nor do they include the rate of
                     3   pay, or a break-down of the flat daily rate paid to its drivers or any information
                     4   regarding compensable rest or recovery periods as required by Labor Code § 226(a).”
                     5   FAC ¶ 61. Plaintiffs also allege that they seek this penalty for the three-year period
                     6   prior to the filing of the FAC. FAC ¶ 62.
                     7           47.      California Labor Code section 226 provides for a penalty in the event
                     8   that an employee suffers an injury as a result of a wage statement that violates this
                     9   section. If Plaintiff can prove that Domino’s violated California Labor Code section
                    10   226, which Domino’s denies, the penalty for Plaintiff and each putative class
                    11   member is $50 for the initial pay period and $100 for each additional pay period, with
                    12   the total penalty not exceeding $4,000 per person. Cal. Lab. Code § 226(e)(1).
                    13           48.      Courts assume a 100% violation rate in calculating the amount in
                    14   controversy when the complaint does not allege a more precise calculation. See, e.g.,
                    15   Coleman v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1150 (C.D. Cal. 2010)
                    16   (“Plaintiff included no limitation on the number of violations, and, taking his
                    17   complaint as true, Defendants could properly calculate the amount in controversy
                    18   based on a 100% violation rate.”); Muniz v. Pilot Travel Ctrs. LLC, No. CIV S-07-
                    19   0325 FCD EFB, 2007 WL 1302504, at *4 (E.D. Cal. Apr. 30, 2007).
                    20           49.      Plaintiff worked a total of 79 weeks and received a pay stub every two
                    21   weeks, and therefore received approximately 40 pay stubs. See Ruelas Decl. ¶ 6.
                    22   Therefore, Plaintiff has put approximately $3,950 in controversy (($50 x 1 pay period)
                    23   + ($100 x 39 pay periods).
                    24           Domino’s Alleged Failure to Timely Pay Final Wages
                    25           50.      Plaintiffs claim Domino’s violated California Labor Code §§ 201-203.
                    26   FAC ¶ 65. Specifically, Plaintiffs allege that “Plaintiffs who ceased employment with
                    27   Defendant are entitled to unpaid compensation, but to date have no received such
                    28   compensation for unpaid non-driving work, and rest periods.” Id. at ¶ 66. Plaintiffs

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                     1   also allege that “more than thirty days have passed since Plaintiffs left Defendant’s
                     2   employment.” Id. at ¶ 67.
                     3           51.      Carmona’s last day of work with Domino’s was November 29, 2018 and
                     4   he worked an average of 14 hours per day. Ruelas Decl. ¶ 4. If Carmona somehow
                     5   prevails on his unpaid wages claim he would not have been paid all wages due at
                     6   termination. Thus, the amount put in controversy via this claim are calculated as
                     7   follows: At $38.79/hour (Carmona’s average hourly pay rate at termination), and
                     8   averaging 14 hours worked per day, thirty (30) days’ wages for Carmona would place
                     9   $16,291.80 in controversy for waiting time penalties if it is proven that Domino’s
                    10   willfully failed to pay all wages due at termination, which Domino’s denies.
                    11           Attorneys’ Fees
                    12           52.      Plaintiffs also seek attorneys’ fees pursuant to various provisions of the
                    13   California Labor Code. See FAC ¶¶ 4, 32, 47, 53, 57, 62, 68, and prayer for relief.
                    14   Such fees may be included in determining the amount in controversy where
                    15   recoverable by statute. Mo. State Life Ins. Co. v. Jones, 290 U.S. 199, 201-02 (1933);
                    16   Galt, 142 F.3d at 1156. In the Ninth Circuit, future attorneys’ fees through trial can
                    17   be considered as well as attorneys’ fees incurred through the filing of the Complaint.
                    18   Galt, 142 F.3d at 1155; Simmons v. PCR Techs., 209 F. Supp. 2d 1029, 1034 (N.D.
                    19   Cal. 2002) (“The Ninth Circuit clearly considers attorneys’ fees when assessing
                    20   amount in controversy. Such fees necessarily accrue until the action is resolved.”)
                    21   (internal citation omitted).
                    22           53.      Attorneys’ fees awards can be significant in wage and hour cases and often
                    23   exceed the amount of the underlying claims. See, e.g., Lippold v. Godiva Chocolatier,
                    24   Inc., No. C 10-00421 SI, 2010 WL 1526441, at *3-4 (N.D. Cal. April 15, 2010)
                    25   (denying plaintiff’s motion to remand, finding that anticipated attorneys’ fees were
                    26   sufficient to exceed the $75,000 threshold where plaintiff’s wage and hour claims
                    27   totaled $38,747); Sillah v. Command Int’l Sec. Servs., No. 14-CV-01960-LHK, 2016
                    28   WL 692830, at *3 (N.D. Cal. Feb. 22, 2016) (in a single plaintiff overtime case,

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                     1   awarding “Plaintiff $62,579.30 in attorney’s fees”); Quevedo v. New Albertsons, Inc.,
                     2   No. SACV 13-1160-JLS (JPRx), 2015 U.S. Dist. LEXIS 178426 (C.D. Cal. May 27,
                     3   2015) (in a single plaintiff wage and hour case, where plaintiff recovered $42,002 in
                     4   meal period premiums and overtime wages, awarding $358,676.40 in attorneys’ fees);
                     5   Martin v. The Old Turner Inn, No. BC256037, 2003 WL 22416020 (Cal. Sup. Ct. Feb.
                     6   27, 2003) (awarding $147,610 in attorneys’ fees and costs to a single plaintiff who
                     7   recovered $89,508 in a wage hour case); Bandoy v. Huh, 1996 WL 675978 (Cal. Sup.
                     8   Ct. Sept. 26, 1996) (awarding $73,680 in attorneys’ fees in a single plaintiff wage hour
                     9   case). Accordingly, $35,000 is an extremely conservative estimate of attorneys’ fees
                    10   in controversy for Plaintiff Carmona—and a fee request by his counsel would likely
                    11   be significantly more if he were to prevail in this action. In any event, even merely a
                    12   33% attorney fee (, common in wage and hour cases, would be sufficient to bring the
                    13   total amount in controversy above the jurisdictional requirement.
                    14           Summary of Amount in Controversy
                    15           54.      By the claims asserted in this case, the preponderance of the evidence
                    16   demonstrates that Plaintiff Carmona is seeking well in excess of $75,000 in damages:
                    17             Plaintiff’s Claim                                Amount in Controversy
                    18             Failure to Pay All Wages Due                                $12,257.64
                    19             Meal and Rest Break Premiums                                   $24,515.28
                    20             Failure to Reimburse Business Expenses                          $1,887.75
                                   Wage Statement Penalties                                        $3,950.00
                    21
                                   Waiting Time Penalties                                         $16,291.80
                    22
                                   Attorneys’ Fees                                                $35,000.00
                    23
                                  TOTAL                                                          $93,902.47
                    24           55. Based on the foregoing analysis, diversity removal is proper. Specifically,
                    25   estimated conservatively, Plaintiff Carmona’s potential recovery on his claims for
                    26   unpaid wages, meal period and rest break premiums, failure to provide accurate wage
                    27   statements, business reimbursement claims, waiting time penalties and attorneys’ fees
                    28   undisputedly surpasses the $75,000 amount in controversy threshold. Moreover, these

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                     1   calculations do not even take into consideration Plaintiff Carmona’s numerous
                     2   additional claims, including, inter alia, different grounds for underpayment of wages
                     3   such as time spent on rest breaks and mileage driven that was not compensated, pre and
                     4   post judgment interest, and his unfair business practices claim under California
                     5   Business and Professions Code section 17200 et seq.
                     6   VII. COMPLIANCE WITH STATUTORY REQUIREMENTS FOR
                     7           REMOVAL
                     8           56.      This Notice is timely filed under 28 U.S.C. section 1446(b).
                     9           57.      Pursuant to 28 U.S.C. section 1446(a), removal is made to the Central
                    10   District of California, as it is the district court embracing the place where the State
                    11   Court Action is pending.
                    12           58.      In accordance with 28 U.S.C. section 1446(d), a Notice of Filing of
                    13   Notice of Removal is being filed with the Clerk of the Superior Court of the State of
                    14   California in and for the County of Orange where the State Court Action is pending,
                    15   and Domino’s will provide written notice of the filing of this Notice of Removal and
                    16   all other papers to counsel of record for Plaintiff.
                    17           59.      If any question arises as to the propriety of the removal of this action,
                    18   Domino’s respectfully requests the opportunity to present a brief, evidence, and oral
                    19   argument in support of its position that this case is removable.
                    20   VIII. PRAYER
                    21           60.      Wherefore, Domino’s respectfully requests that the above-titled action
                    22   now pending against it in the Superior Court of California, County of Orange, be
                    23   removed to this Court.
                    24    Dated: October 1, 2020                     DLA PIPER LLP (US)
                    25
                                                                     By: /s/ Taylor Wemmer
                    26                                                   STEVE L. HERNÁNDEZ
                                                                         TAYLOR WEMMER
                    27                                                   Attorneys for Defendant
                                                                         DOMINO’S PIZZA LLC
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